Case 1:03-cV-01236-.]DB-tmp Document 32 Filed 05/06/05 Page 1 of 3 Page|D 65

F`J
IN THE UNITED sTATEs DISTRICT COURT `/KFU 5)’
FoR THE wEsTERN DISTRICT oF TENNESSEE 05” \ Df`_
EASTERN DIVISION 47 -5 P”
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/?o. 7
CL`»~ "Fl; '=" o
RUMONT KIRKPATRICK, W@’L!§§»°; off 1291/0
` ff;'~,§~ .'4 . ' _
Plaimiff, "* KSO/V
v. No. 03-1236-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

IT IS SO ORDERED this é>q]\day of May, 2005.

JCBW@M

J. DANIEL BREEN`
NI ED sTATEs DISTRJCT JUDGE

Th:s document entered on the docket sheet in compliance

with Rule 58 and/or 79 (a) FRCP On __®`Q_C{ 'QS

 

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Honorable J. Breen
US DISTRICT COURT

